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 6
   Attorneys for Plaintiff,
 7
   Trinity Warner,
 8
                      IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE DISTRICT OF ARIZONA
10
11 Trinity Warner,                             Case No.:
12
                     Plaintiff,
13
14        vs.                                  COMPLAINT
15
   Experian Information Solutions, Inc.,
16 an Ohio corporation.                        JURY TRIAL DEMAND
17
                     Defendant.
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 1        NOW COMES THE PLAINTIFF, TRINITY WARNER, BY AND THROUGH
 2
     COUNSEL, TRINETTE G. KENT, and for his Complaint against the Defendant,
 3
 4 pleads as follows:
 5                                    JURISDICTION
 6
       1. Jurisdiction of this court arises under 15 U.S.C. §1681p, 15 U.S.C. §1692k(d)
 7
 8        and 28 U.S.C. §§1331,1337.
 9
       2. This is an action brought by a consumer for violation of the Fair Credit
10
11        Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).

12
                                           VENUE
13
14     3. The transactions and occurrences which give rise to this action occurred in the
15
          City of Phoenix, Maricopa County, Arizona.
16
17     4. Venue is proper in the District of Arizona, Phoenix Division.

18                                        PARTIES
19
20     5. The Defendant to this lawsuit is Experian Information Solutions, Inc.
21
          (“Experian”), which is an Ohio company that maintains a registered agent in
22
23        Maricopa County, Arizona.

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                                               2
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 1                           GENERAL ALLEGATIONS
 2
     6. On or about May 19, 2015, Plaintiff obtained his Experian credit file and
 3
 4      noticed errors on the following trade lines (“Errant Trade Lines”):
 5         a. Credit Systems Intl. In., Account Number: 10392XXXX;
 6
           b. Credit Management LP, Account Number: 3928XXXX;
 7
 8         c. Credit Systems Intl., In., Account Number: 10532XXXX;
 9
           d. MITEL NET SOLUTIONS, Account Number:113XXXX;
10
11         e. FIRST CHOICE POWER, Account Number: 5142403XXXX;

12         f. Americredit;
13
           g. Capital One;
14
15         h. GREENSKY INSTALLMENT;
16         i. HOSPITAL CARE CONSULTANTS IN, Account Number:
17
              1101XXXX;
18
19         j. HOSPITAL CARE CONSULTANTS IN, Account Number:
20
              1093XXXX;
21
           k. HOSPITAL CARE CONSULTANTS IN, Account Number:
22
23            1093XXXX;
24
           l. TCEP SETON HIGHLAND LAKES, Account Number:
25
26            1229086000491XXXX;

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                                            3
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 1         m. TCEP SETON HIGHLAND LAKES, Account Number:
 2
              913086000467XXXX;
 3
 4         n. TXU Energy, Account Number: 100000643747XXXX;
 5         o. WFC, Account Number: 4720773XXXX; and
 6
           p. WFDS.
 7
 8   7. On or about May 26, 2015, Mr. Warner submitted a letter to Experian, disputing
 9
        the Errant Trade Lines.
10
11   8. On or about June 9, 2015, Mr. Warner received a letter from Experian, stating

12      that it received a suspicious request and that it would not be initiating any
13
        disputes based on the suspicious correspondence.
14
15   9. Experian refused to investigate Mr. Warner’s dispute, in violation of the Fair
16      Credit Reporting Act.
17
18                                       COUNT I
19
     NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
20
                         BY EXPERIAN
21
     10.Plaintiff realleges the above paragraphs as if recited verbatim.
22
23   11.Defendant Experian prepared, compiled, issued, assembled, transferred,
24
        published, and otherwise reproduced consumer reports regarding Mr. Warner as
25
26      that term is defined in 15 USC 1681a.

27
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                                              4
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 1     12.Such reports contained information about Mr. Warner that was false,
 2
           misleading, and inaccurate.
 3
 4     13.Experian negligently failed to maintain and/or follow reasonable procedures to
 5         assure maximum possible accuracy of the information it reported to one or
 6
           more third parties pertaining to Mr. Warner, in violation of 15 USC 1681e(b).
 7
 8     14. After receiving Mr. Warner’s consumer dispute to the Errant Trade Lines,
 9
           Experian negligently failed to conduct a reasonable reinvestigation as required
10
11         by 15 U.S.C. 1681i.

12     15.As a direct and proximate cause of Experian’s negligent failure to perform its
13
           duties under the FCRA, Mr. Warner has suffered actual damages, mental
14
15         anguish and suffering, humiliation, and embarrassment.
16     16.Experian is liable to Mr. Warner by reason of its violation of the FCRA in an
17
           amount to be determined by the trier fact together with his reasonable attorneys’
18
19         fees pursuant to 15 USC 1681o.
20
21
           WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
22
23 against Experian for actual damages, costs, interest, and attorneys’ fees.
24
                                          COUNT II
25
          WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
26
                             BY EXPERIAN
27
       17.Plaintiff realleges the above paragraphs as if recited verbatim.
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                                               5
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 1   18.Defendant Experian prepared, compiled, issued, assembled, transferred,
 2
        published, and otherwise reproduced consumer reports regarding Mr. Warner as
 3
 4      that term is defined in 15 USC 1681a.
 5   19.Such reports contained information about Mr. Warner that was false,
 6
        misleading, and inaccurate.
 7
 8   20.Experian willfully failed to maintain and/or follow reasonable procedures to
 9
        assure maximum possible accuracy of the information that it reported to one or
10
11      more third parties pertaining to Mr. Warner, in violation of 15 USC 1681e(b).

12   21. After receiving Mr. Warner’s consumer dispute to the Errant Trade Lines,
13
        Experian willfully failed to conduct a reasonable reinvestigation as required by
14
15      15 U.S.C. 1681i.
16   22.As a direct and proximate cause of Experian’s willful failure to perform its
17
        duties under the FCRA, Mr. Warner has suffered actual damages, mental
18
19      anguish and suffering, humiliation, and embarrassment.
20
     23.Experian is liable to Mr. Warner by reason of its violations of the FCRA in an
21
        amount to be determined by the trier of fact together with his reasonable
22
23      attorneys’ fees pursuant to 15 USC 1681n.
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 1         WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment
 2
     against Experian for the greater of statutory or actual damages, plus punitive damages,
 3
 4 along with costs, interest, and attorneys’ fees.
 5
 6
                                       JURY DEMAND
 7
 8         Plaintiff hereby demands a trial by Jury.
 9
10
11 DATED: June 30, 2015                             KENT LAW OFFICES

12
13                                             By: /s/ Trinette G. Kent
14                                             Trinette G. Kent
                                               Attorneys for Plaintiff,
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                                               Trinity Warner
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